Case 2:03-cr-20485-SHI\/| Document 281 Filed 05/18/05 Page 1 of 2 Page|D 312

IN THE UN]TED STATES DISTRICT COURT
FOR THE WESTERN DISTRlCT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA

 

VS. CR. NO. 03-20485~Ma

KENNETH TAYLOR,

Defendant.

 

ORDER GRANTING MOTION TO CONTTNUE SUPPRESSION HEARING

 

Before the court is the May 9, 2005, motion of defendant Kenneth Taylor to reset the
suppression hearing Set for June 3, 2005. For good cause shown, the motion is granted. The hearing
on the motion to suppress is reset for Thursday, June 16, 2005 at 1:30 p.m.

IT Is so oRDEREI) this the l')*Lday OfMay, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

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Honorable Sarnuel Mays
US DISTRICT COURT

